                  Case 17-15211       Doc 182     Filed 02/08/19    Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND

IN RE:

Michelle Quarles aka Michelle W. Quarles              Case No. 17-15211-WIL
Aka Michelle Washington Quarles                       Chapter 11
       Debtor(s)

                   RESPONSE TO DEBTOR’S OBJECTION TO CLAIM

         COMES NOW, U.S. Bank Trust National Association as Trustee of Cabana Series III

Trust (“Respondent”), by and through undersigned counsel and hereby responds to the Objection

to Claim filed herein and in support thereof states as follows:

         1.    Respondent admits the allegations contained within Paragraph 1.

         2.    Respondent lacks information to either admit or deny the allegations set forth in

paragraph 2.

         3.    Respondent admits the allegations contained within Paragraph 3.

         4.    In response to paragraph 4, Respondent states that the terms of the confirmed

Chapter 11 Plan speak for themselves.

         5.    Respondent denies the allegations contained within Paragraph 5 insofar as they

allege that Respondent has charge impermissible fees to the underlying loan.

         6.    Respondent lacks the information to either admit or deny the allegations set forth

in paragraph 6.

         7.    Respondent lacks the information to either admit or deny the allegations set forth

in paragraph 6.

         8.    The allegations set forth in paragraph 8 and 9 do not require a response.

         9.    Respondent is in the process of processing the filing of a transfer of claim from

Wells Fargo Bank, N.A. to itself.
                 Case 17-15211       Doc 182      Filed 02/08/19     Page 2 of 2



       WHEREFORE, Respondent, by and through undersigned counsel respectfully requests

that this honorable court deny the Objection to Claim and for such other and further relief as this

court deems just and proper.

                                                     Respectfully Submitted,


                                                     /s/ Joshua Welborn, Esq. (Jwel)
                                                     Joshua Welborn, Esq.
                                                     Attorney for Movant
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                                CERTIFICATE OF SERVICE

       I hereby certify that copies were sent electronically via the CM/ECF system on February 8,
2019 to:

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                                              /s/ Joshua Welborn, Esq.

 
